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                               UNITED STATES DISTRICT COURT
                                         FOR THE
                                   DISTRICT OF VERMONT


UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )       Docket No. 2:21-MJ-00105
                                                     )
JACKSON GRANT,                                       )
     Defendant.                                      )

                                  MOTION FOR DETENTION

       The United States of America moves for pretrial detention of the defendant pursuant to

18 U.S.C. § 3142(e) and (f).

       1. Eligibility for Detention. This defendant is eligible for detention because the case

charges a felony involving possession of a firearm See 18 U.S.C. § 3142(f)(1)(E).

       2. Reason For Detention. The Court should detain the defendant because there are no

conditions of release that will reasonably assure the defendant’s appearance as required or the

safety of the community. Turning to the factors under 18 U.S.C. § 3142(g), the nature and

circumstances of the crime charged weigh in favor of detention. The complaint affidavit states

that Grant was conducting business at the intersection of drugs and firearms, one of the most

dangerous circumstances in Vermont. Grant faces the potential of being charged with other

serious crimes, including drug trafficking. Grant’s history and characteristics also counsel for

detention. The defendant has no substantial ties to Vermont. He appears to have been

unemployed, supporting himself by criminal conduct. He has felony convictions and has been

sentenced to substantial prison sentences. Finally, it appears that Grant was on parole from a

recent release from a New York prison sentence. The evidence showing that Grant possessed a
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firearm and dealt drugs while on parole undercuts any basis that Grant would abide by this

Court’s release conditions.

       3. Rebuttable Presumption. The United States will not invoke the rebuttable

presumption against the defendant under § 3142(e).

       4. Time For Detention Hearing. The United States asks the Court to grant a continuance

of the detention hearing for up to ten days, pursuant to 18 U.S.C. § 3142(d)(1)(A)(iii). The

United States will notify New York authorities of Grant’s arrest and await a decision about

whether he would be taken back into custody on a parole violation if released. In any event, the

government moves for the statutory three-day continuance mandated by 18 U.S.C. § 3142(f) to

review the pretrial services report, which has not been received, as well as other potential

evidence developed late last week.

       Dated at Burlington, in the District of Vermont, this 25th day of October, 2021.

                                                             Respectfully submitted,

                                                             UNITED STATES OF AMERICA

                                                             JONATHAN A. OPHARDT
                                                             Acting United States Attorney

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